JS 44 (Rev. 10/20) - TXND (10/20)                                         CIVIL COVER SHEET
                         Case 4:22-cv-00305-O Document 1-1 Filed 04/13/22                                                               Page 1 of 2 PageID 6
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS

         ER Near Me                                                                                          Aetna Health and Life Insurance Company
   (b)   County of Residence of First Listed Plaintiff            Dallas, Texas                              County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)

                                                                                                             Jonathan M. Herman, Herman Law Firm, 1601 Elm Street, Suite
         Mark H. Selz, 11494 Luna Rd., Suite 200, Dallas, Texas 75234
                                                                                                             2002, Dallas, Texas 75201 (214) 624-9805
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                     and One Box for Defendant)
  1    U.S. Government               ✖   3   Federal Question                                                                    PTF          DEF                                        PTF      DEF
         Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State            1            1     Incorporated or Principal Place         4     4
                                                                                                                                                        of Business In This State

  2    U.S. Government                   4   Diversity                                            Citizen of Another State              2         2   Incorporated and Principal Place           5         5
         Defendant                             (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                  Citizen or Subject of a               3         3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                TORTS                                FORFEITURE/PENALTY                      BANKRUPTCY                      OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability            690 Other                                28 USC 157                       3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                                                       400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS                  410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                    820 Copyrights                  430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                                  830 Patent                      450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                                  835 Patent - Abbreviated        460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                         New Drug Application        470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                          840 Trademark                       Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                          LABOR                        880 Defend Trade Secrets        480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud                  710 Fair Labor Standards                  Act of 2016                     (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending                 Act                                                               485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal               720 Labor/Management                 SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage                  Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage              740 Railway Labor Act                862 Black Lung (923)             850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                          Medical Malpractice                                              Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               ✖   791 Employee Retirement                                               893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff            Act
  240 Torts to Land                   443 Housing/                        Sentence                                                               or Defendant)               896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                           871 IRS—Third Party              899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                    IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                          Employment                  Other:                           462 Naturalization Application                                            Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other             465 Other Immigration                                                 950 Constitutionality of
                                          Other                       550 Civil Rights                     Actions                                                               State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                   3    Remanded from                4 Reinstated or             5 Transferred from      6 Multidistrict                      8 Multidistrict
    Proceeding                 State Court                         Appellate Court                Reopened                    Another District          Litigation -                       Litigation -
                                                                                                                              (specify)                 Transfer                           Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION2 8Brief
                        U.S.C. §§ 1331 and 1446
                            description of cause:
                      Health Benefit Plan Claim
VII. REQUESTED IN         CHECK IF THIS IS A CLASS ACTION                                              DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                     $3,825.73                                  JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                  JUDGE                                                                                         DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
                                                                          /s/ Jonathan M. Herman
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                      APPLYING IFP                                    JUDGE                             MAG. JUDGE
JS 44 Reverse (Rev. 10/20) - TXND (10/20)
                       Case 4:22-cv-00305-O Document 1-1 Filed 04/13/22                                     Page 2 of 2 PageID 7
                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)   Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
        only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
        the official, giving both name and title.
  (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)   Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If a related case exists, whether pending or closed, insert the
      docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the same
      parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
      law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.
